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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

ASSOCIATION OF AMERICAN
UNIVERSITIES, AMERICAN COUNCIL ON
EDUCATION, ASSOCIATION OF PUBLIC
AND LAND-GRANT UNIVERSITIES,
BRANDEIS UNIVERSITY, BROWN
UNIVERSITY, THE REGENTS OF THE
UNIVERSITY OF CALIFORNIA, THE
CALIFORNIA INSTITUTE OF
TECHNOLOGY, CARNEGIE MELLON
UNIVERSITY, THE UNIVERSITY OF
CHICAGO, CORNELL UNIVERSITY, THE
GEORGE WASHINGTON UNIVERSITY,
JOHNS HOPKINS UNIVERSITY,
MASSACHUSETTS INSTITUTE OF
TECHNOLOGY, TRUSTEES OF THE
UNIVERSITY OF PENNSYLVANIA,
UNIVERSITY OF ROCHESTER, and
TRUSTEES OF TUFTS COLLEGE,                       Case No. 1:25-cv-10346-AK

                   Plaintiffs,

       v.

DEPARTMENT OF HEALTH & HUMAN
SERVICES,

NATIONAL INSTITUTES OF HEALTH,

DOROTHY A. FINK, M.D. in her official
capacity as Acting Secretary, Department of
Health and Human Services, and

MATTHEW J. MEMOLI, M.D., M.S. in his
official capacity as Acting Director, National
Institutes of Health,

                   Defendants.


UNOPPOSED MOTION OF MASSACHUSETTS BIOTECHNOLOGY COUNCIL, INC.
FOR LEAVE TO FILE MEMORANDUM OF LAW AS AMICUS CURIAE IN SUPPORT
    OF PLAINTIFFS’ MOTION FOR A TEMPORARY RESTRAINING ORDER

       The Massachusetts Biotechnology Council, Inc. (“MassBio”) hereby moves for leave of
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Court to file the enclosed Memorandum of Law as Amicus Curiae in Support of Plaintiffs’

Motion for a Temporary Restraining Order. 1 In support of the Motion, MassBio states as

follows:

       1.      Federal district courts “have inherent authority” to accept amicus briefs. Boston

Gas Co. v. Century Indem. Co., No. 02-12062-RWZ, 2006 WL 1738312, at *1 n.1 (D. Mass.

June 21, 2006) (accepting amicus brief from Complex Insurance Claims Litigation Association).

       2.      District courts “frequently welcome amicus briefs from non-parties concerning

legal issues that have potential ramifications beyond the parties directly involved.” NGV

Gaming, Ltd. v. Upstream Point Molate, LLC, 355 F. Supp. 2d 1061, 1067 (N.D. Cal. 2005); see

Doe v. Trump, No. 25-10135-LTS, 2025 WL 485070, at *1 n.2 (D. Mass. Feb. 13, 2025)

(accepting amicus briefs from five groups and one individual in challenge to President’s

Executive Order).

       3.      Courts especially welcome amicus briefs when the party offers a “perspective that

can help the court beyond the help that the lawyers for the parties are able to provide.” Ryan v.

Commodity Futures Trading Comm’n, 125 F.3d 1062, 1063 (7th Cir. 1997).

       4.      In the proposed Amicus Memorandum, MassBio provides its perspective on how

the public interest favors entry of an injunction against implementation of the National Institutes

of Health, Supplemental Guidance to the 2024 NIH Grants Policy Statement: Indirect Cost Rates

(NOT-OD-25-068) (Feb. 7, 2025) (“NIH Policy”),




1
  MassBio is filing the same Motion for Leave and Proposed Memorandum in each of the three
cases concerning the NIH Policy. See Commonwealth of Massachusetts, et al. v. National
Institutions of Health, et al. No.1:25-cv-10338, Association of American Medical Colleges et al.
v. National Institutes of Health, et al., No. 1:25-cv-10340, and Association of American
Universities et al. v. Department of Health & Human Services, et al., No. 1:25-cv-10346.


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       5.      As the representative of more than 1700 member organizations working at all

stages of the biopharmaceutical development process in Massachusetts, MassBio can bring to the

Court’s attention—beyond the arguments of the parties—how the sudden NIH funding cuts

announced in the NIH Policy would have devastating effects on drug development.

       6.      The proposed Amicus Memorandum explains that the funding cuts would (1)

disrupt the basic science research that is vital to the innovation ecosystem in Massachusetts; (2)

immediately halt many ongoing clinical trials, depriving clinical trial patients of access to

investigational treatments and all patients of the promise of future medicines that do not

complete clinical trials; and (3) endanger Massachusetts’ (and the country’s) role as the world

leader in drug development.

       7.      The Court should grant MassBio’s leave to file the Amicus Memorandum, which

offers a perspective beyond the Plaintiffs, about the specific, down-stream effects that sudden,

drastic cuts in NIH funding will have on biopharmaceutical development in Massachusetts.

       8.      Counsel for Plaintiffs assent to this Motion and Counsel for the Government does

not object to this Motion.

               WHEREFORE, the Massachusetts Biotechnology Council, Inc. respectfully

requests that the Court grant it leave to file the attached Memorandum of Law as Amicus Curiae

in Support of Plaintiffs’ Motion for a Temporary Restraining Order.



February 18, 2025                             Respectfully submitted,

                                              /s/ Eric M. Gold
                                              Eric M. Gold, BBO #660393
                                              MANATT, PHELPS, & PHILLIPS LLP
                                              177 Huntington Avenue, Suite 2500
                                              Boston, MA 02115
                                              Tel: 617-646-1423



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                                              EGold@manatt.com

                                              Counsel for
                                              Massachusetts Biotechnology Council, Inc.


                              CERTIFICATE OF CONFERRAL

       I hereby certify that I have conferred with counsel for the Plaintiffs and Defendants
regarding the relief requested in this Motion.

                                                     /s/ Eric M. Gold
                                                     Eric M. Gold


                                CERTIFICATE OF SERVICE

       I hereby certify that on February 18, 2025, I filed the forgoing document using the
Court’s ECF system and it will be sent electronically to all counsel of record identified on the
Notice of Electronic Filing.

                                                     /s/ Eric M. Gold
                                                     Eric M. Gold




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                        EXHIBIT




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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

ASSOCIATION OF AMERICAN
UNIVERSITIES, AMERICAN COUNCIL ON
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GEORGE WASHINGTON UNIVERSITY,
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MASSACHUSETTS INSTITUTE OF
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DOROTHY A. FINK, M.D. in her official
capacity as Acting Secretary, Department of
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MATTHEW J. MEMOLI, M.D., M.S. in his
official capacity as Acting Director, National
Institutes of Health,

                   Defendants.


                 [PROPOSED] MEMORANDUM OF LAW
 OF AMICUS CURIAE MASSACHUSETTS BIOTECHNOLOGY COUNCIL, INC. IN
SUPPORT OF PLAINTIFFS’ MOTION FOR A TEMPORARY RESTRAINING ORDER
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       The Massachusetts Biotechnology Council (“MassBio”) respectfully submits this

Memorandum of Law as Amicus Curiae in support of Plaintiffs’ Motion for a Temporary

Restraining Order.

                               INTEREST OF AMICUS CURIAE

       Founded in 1985, MassBio is a nonprofit association of more than 1,700 organizations

involved in health care and life sciences, including about 1000 biopharmaceutical companies that

are active in Massachusetts.

       On February 7, 2025, the Office of the Director of the National Institutes of Health issued

Supplemental Guidance to the 2024 NIH Grants Policy Statement: Indirect Cost Rates (NOT-

OD-25-068) (“NIH Policy”), announcing that beginning February 10, 2025, “there will be a

standard indirect rate of 15% across all NIH grants for indirect costs in lieu of a separately

negotiated rate for indirect costs in every grant.” NIH Policy. At the same time, NIH announced

through social media that while $9 billion of the $35 billion in annual NIH research grants went

to indirect costs last year, “[t]his change will save more than $4B a year effective immediately.” 2

       MassBio is deeply concerned that this sudden, $4 billion annual cut in NIH research

funding (with its corresponding cut of hundreds of millions of dollars in funding to

Massachusetts institutions, in particular) would harm patients, research scientists, and the entire

life sciences sector. If allowed to go into effect, the NIH Policy will immediately hobble the

basic scientific research ongoing in Massachusetts to develop life-saving medicines for patients

around the world, halt clinical trials, and threaten Massachusetts’ (and the country’s) standing as

the leader in biopharmaceutical development.




2
 National Institutes of Health, “X” Post (Feb. 7, 2025 6:19 p.m.),
https://x.com/NIH/status/1888004759396958263


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        MassBio is especially concerned with the suddenness of the funding cuts. The

biopharmaceutical research and development system has been built around certain basic

assumptions, including the indirect cost rates, which have been fixed in annual appropriations

bills since 2018.

        Despite billions of dollars in biopharmaceutical industry research and development

investment each year, NIH basic research funding plays a vital role in drug development by

supporting one of the three vital parties to the innovation ecosystem. This innovation ecosystem

is crucial to developing new drugs, biologics, and vaccines and consists of three, interrelated

parties that collaborate to move medicines from the scientist’s laboratory to address patient

needs. The three parties in this ecosystem include: (1) academia and small biotech companies

that partner to pursue the underlying research; (2) venture capital firms that invest in the drug

development process; and (3) pharmaceutical companies that work to bring new therapies to

patients.

        All three of these parties are essential components of the drug discovery, development,

and commercialization process. MassBio and others have helped to create a thriving innovation

ecosystem in Massachusetts due in large part to the close collaboration between academia—with

their groundbreaking innovations—and biopharmaceutical companies. And their work has led

Massachusetts to become one of the leading biopharmaceutical development hubs in the world.

However, this ecosystem is fragile and will be disrupted if just one of the parties suffers a

setback, as the NIH funding cuts set forth in the NIH Policy threaten to do. MassBio’s deep

industry knowledge and insights into how the NIH funding cuts will hamper drug development

in Massachusetts will provide an important perspective as the Court considers the public interest

in Plaintiffs’ request for injunctive relief.




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                                          ARGUMENT

        The public interest—one of the necessary elements of a claim for injunctive relief, U.S.

Ghost Adventures, LLC v. Miss Lizzie’s Coffee LLC, 121 F.4th 339, 347 (1st Cir. 2024)—weighs

strongly in favor of enjoining the NIH Policy. First, the sudden, deep funding cuts announced in

the NIH Policy will disrupt the basic scientific research that is vital to the innovation ecosystem

and has led to the development of nearly every approved medicine in recent years. Second, the

NIH funding cuts would immediately halt ongoing clinical trials, depriving patients of access to

vital treatments and curative medicines. Third, the funding cuts would, in time, endanger

Massachusetts’ (and the country’s) role as a world leader in drug development.

      I.     The Sudden NIH Funding Cuts Would Disrupt the Basic Scientific Research
             that is Vital to Biopharmaceutical Development in Massachusetts, Leading to
             Fewer Scientific Breakthroughs.

        Massachusetts has created a world-class innovation ecosystem that has held to the

development of dozens of life-altering treatments and cures for diseases. That ecosystem

includes NIH-funded basic science, venture capital firms that invest in early-stage

biopharmaceutical development, and mature biopharmaceutical companies that complete clinical

trials and bring new drugs and vaccines to market. All parts of this ecosystem are critical to the

continued development of life-saving medications in Massachusetts. While biotechnology and

pharmaceutical companies invest billions in research and development each year, the NIH

funding of basic science research is critical to successful drug development. 3 And that ecosystem

has been based on long-term NIH funding of this basic research, including the indirect cost rates,

which Congress has confirmed in its annual appropriations since 2018. See Consolidated


3
 See Congressional Budget Office, Research and Development in the Pharmaceutical Industry at
18-19, https://www.cbo.gov/publication/57126 (April 2021) (“Publicly funded basic science thus
provided the foundation upon which complementary work on the applied science of drug
development could be undertaken by the private sector.”)


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Appropriations Act, 2018, Pub. L. No. 115-141, 132 Stat 348, § 226. The sudden NIH funding

cuts will fracture this innovative ecosystem.

       Nearly every FDA-approved drug developed was based, at least in part, on NIH-funded

basic research. 4 With less basic scientific research, there will be fewer scientific discoveries.

With fewer scientific discoveries, there will be fewer innovations on which to develop life-

saving medications and cures for disease.

       One recent and prominent discovery provides a helpful example. The mRNA vaccine

technology, which led to the development of two life-saving vaccines against COVID-19—

including one that was developed in Massachusetts—followed decades of scientific research and

development through collaborations across NIH researchers, NIH-funded academic research

labs, and biopharmaceutical companies. 5 Indeed, “[f]or decades, NIH has supported the research

that led to these vaccines.” 6 This same mRNA technology is likely to lead to even more vaccines

in the future with further private investment and biopharmaceutical research and development.

There are already clinical trials ongoing that rely on mRNA technology for cancer vaccines,

among others. 7 It will never be known what would have happened if NIH funding had been cut

off—as the NIH Policy would do—for mRNA technology while it was still in the early stage of

development.




4
  See Ekaterina Galkina Cleary et al., Comparison of Research Spending on New Drug Approvals
by the National Institutes of Health vs. the Pharmaceutical Industry, 2010-2019, JAMA Health
Forum (Apr. 28, 2023) (finding that “[f]unding from the NIH was contributed to 354 of 356
drugs (99.4%) approved from 2010 to 2019 . . .”).
5
  See National Institute of Allergy and Infectious Disease, Decades in the Making: mRNA
COVID-19 Vaccines, https://www.niaid.nih.gov/diseases-conditions/decades-making-mrna-
covid-19-vaccines (last viewed Feb. 18, 2025).
6
  Id.
7
  See Yu-Shiuan Wang et al. mRNA-based vaccines and therapeutics: an in-depth survey of
current and upcoming clinical applications, 30 J. Biomed. Sci. 84 (Oct. 7, 2023).


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        Much of this promising NIH-funded research is ongoing in Massachusetts. The sudden

$4 billion annual funding cuts resulting from the NIH Policy would be devastating to the delicate

innovation ecosystem in the State, immediately holding back the discovery and development of

life-savings medications.

     II.      The NIH Funding Cuts Would Likely Halt Ongoing NIH-funded Clinical Trials,
              Depriving Patients of Access to Vital Treatments and Curative Medicine.

        In addition to funding basic scientific research, NIH funds thousands of clinical trials

across the country, studying the safety and effectiveness of innovative medications on patients of

all ages. The NIH clinical trial database shows 611 NIH-funded and 1622 industry-funded

clinical trials currently enrolling patients at locations in Massachusetts. 8 While industry funds

more clinical trials than NIH, 9 NIH provides financial support to the academic physicians who

are primary investigators of industry-sponsored clinical trials, too.

           If implemented, the NIH Policy puts funding for many clinical trials with NIH financial

support—and the continuation of those trials themselves—in doubt. One MassBio member

company is sponsoring a Phase II trial for an innovative rare disease treatment. On February 10,

after NIH issued the new NIH Policy, but before the Court entered the Temporary Restraining

Orders, the trial investigator reported that they had paused enrolling new patients in the study

because of the NIH Policy. If patients cannot enroll in the study, the study cannot be completed.

And if the Phase II study cannot be completed, the medication cannot move into Phase III, and

the medication will not be approved for patient use.



8
  See National Library of Medicine, ClinicalTrials.gov, https://clinicaltrials.gov/search (filtered
for “Location: Massachusetts”; “Study Status: Recruiting”; “Funder-Type: NIH” or “Funder-
Type: “Industry”) (accessed on Feb. 18, 2025).
9
  See Stephan Ehrhardt et al., Trends in National Institutes of Health Funding for Clinical Trials
Registered in ClinicalTrials.gov, 314 J. Am. Med. Ass’n 2566-67 (Dec. 15, 2015) (finding in
2014, industry sponsored 35.6 of clinical trials and NIH 5.7%).


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          Even if the clinical trials could eventually resume, each day of delay in the clinical trial,

results in a similar delay for patients to access the important new medicine. With more than two

thousand clinical trials currently enrolling patients in Massachusetts, there would be substantial

harm to the public interest should many of those trials be paused as a result of the new NIH

Policy.

     III.    The NIH Funding Cuts Would Significantly Reduce Basic Scientific Research,
             Endangering Massachusetts’ (and the Country’s) Role as a World Leader in
             Drug Development.

          As explained above, the NIH funding cuts would have catastrophic consequences for the

innovation ecosystem for biopharmaceutical development in Massachusetts, leading to the

discovery and development of fewer treatments and cures for patients. Over time, the NIH

funding cuts will also endanger the role of Massachusetts and the United States as the world’s

leaders in drug development. 10

          Because the limited private funding for basic research is usually awarded to the most

experienced researchers, the $4 billion in annual NIH funding cuts would lead to the loss of

thousands of early career researchers across the country. Many of these research scientists who

cannot get funding may move into other careers, and others may move to other countries where

the government will commit to fully fund their research. 11 The U.S. leads the world in

pharmaceutical development and Massachusetts has been the leader, among the States. But that

status is not guaranteed and these sudden and drastic cuts to basic scientific research come at the



10
   See Yali Friedman, Where are Drugs Invented, and Why Does it Matter?, 16 ACS Med.
Chem. Ltr. 589-91 (May 16, 2017) (concluding that “North America (largely the United States)
accounts for more than half of the drug patent inventorship”).
11
   See David J. Bier, Abandoning the US, More Scientists Go to China, Cato Institute (Apr. 11,
2023) (analyzing recent “data showing that the United States is losing the race for scientific
talent to China and other countries”), https://www.cato.org/blog/abandoning-us-more-scientists-
go-china.


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same time as China (and other countries) are increasing their investments in basic research,

providing ample opportunities in other countries for young scientists who hope to make

breakthrough discoveries. 12 The likely result is that we—as a State and as a country—will lose

our competitive advantage in biopharmaceutical research and development, with enormous

consequences for public health, national security, and economic development.

                                        CONCLUSION

       For the forgoing reasons, the public interest weighs strongly in favor of enjoining

implementation of the National Institutes of Health, Supplemental Guidance to the 2024 NIH

Grants Policy Statement: Indirect Cost Rates (NOT-OD-25-068).

February 18, 2025                            Respectfully submitted,

                                             /s/ Eric M. Gold
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                                             Counsel for
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12
  Dennis Normile, China announces major boost for R&D, but plan lacks ambitious climate
targets, Science (Mar. 4, 2021).


                                                8
